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IN THE UNITED sTATES DIsTRICT CoURr 05-/@ gm
FoR THE WESTERN DISTRICT oF TENNESSE_E\ `9 ,%, “~<
EASTERN DIVlsloN ~ , 290

UNITED STATES OF AMERICA,

Plaintiff,
VS. No. 04-1007l-T
BILLY GAIL BIRMINGHAM,

Defendant.

ORDER CONTINUING TRIAL AND REPORT DATE
AND EXCLUDING DELAY

Upon motion of counsel for defendant Billy Gail Birrningham, Without objection from
the government and for good cause shown, the report date Which is scheduled for June lO,
2005, and the trial date which is currently scheduled for June 15, 2005, are hereby continued
Defendant contends that additional time is needed for preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice Will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordinglv. the trial is continued from June 15. 2005. to JulV 13. 2005. at
9:30 A.M. The resulting period of delay, from June 15, 2005, to July 13, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

The report/motion date has been reset for July 6, 2005, at 8:30 a.m.

lT IS SO ORDERED.

 

 

Thls document entered on the docket afge ln compliance
with mile ss and/or 32(1)) FRCrP on __~)_]_O_\LQ§_

DISTRIC COURT -WE TER D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 1:04-CR-10071 Was distributed by faX, mail, or direct printing on
June 10, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

